            Case 2:20-bk-50469                      Doc 22          Filed 05/18/20 Entered 05/18/20 14:22:42                                Desc Main
   Fill in this information to identify the case:                   Document     Page 1 of 7
Debtor 1                 Kary Ann Holbrook
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Ohio
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             2050469
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             2
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           07/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1040.07
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 5 ____
                                                                            6 ____
                                                                                4

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           275.70
                Current escrow payment: $ _________________                                                                       282.83
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Kary Ann Holbrook                                                                    2050469
     Case
      Debtor 12:20-bk-50469               Doc 22 Filed      05/18/20 EnteredCase
                 ________________________________________________________
                 First Name       Middle Name     Last Name
                                                                                05/18/20       14:22:42
                                                                                  number (if known)             Desc Main
                                                                                                    ______________________
                                                 Document           Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Bianca Ariane Moore
      ______________________________________________________________
      Signature
                                                                                      05/18/2020
                                                                                Date _______________




 Print:______________________________________________________________
        Moore, Bianca Ariane                                                     VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                  Document
                     UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                       Southern District of Ohio


                                                   Chapter 13 No. 2050469
                                                   Judge: C. Kathryn Preston

In re:
Kary Ann Holbrook
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 19, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    Kary Ann Holbrook
                                    334 Plum Street

                                    Ashville OH 43103-1528



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    Mark Albert Herder

                                    1031 East Broad Street

                                    Columbus OH 43205


                                    By Court's CM/ECF system registered email address
                                   N/A




Trustee:                            By Court's CM/ECF system registered email address
                                    Interim Faye English

                                    130 East Wilson Bridge Road Suite 200

                                    Worthington OH 43085

                                                           _______________________________________________
                                                           /s/Bianca Ariane Moore
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
        Case 2:20-bk-50469                Doc 22         Filed 05/18/20 Entered 05/18/20 14:22:42 Desc Main
                                                     Document
                                 Return Mail Operations               Page 4 ofEscrow
                                                                                7     Review Statement
                                 PO Box 14547
                                                                                           For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                           Statement Date:                                     May 11, 2020
                                                                                           Loan number:
                                                                                           Property address:
                                                                                                334 PLUM ST
                                                                                                ASHVILLE OH 43103


                                                                                           Customer Service
                                                                                                 Online                           Telephone
                                                                                                 wellsfargo.com                   1-800-340-0473
          KARY A CRIST
                                                                                                 Correspondence                   Hours of operation
          334 PLUM ST                                                                            PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
          ASHVILLE OH 43103-1528                                                                 Des Moines, IA 50306
                                                                                                 To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                    We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                               $44.49
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the July 1, 2020 payment, the contractual portion of the
        escrow payment increases.



  Part 1 - Mortgage payment

       Option 1                  Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  06/01/2020 payment date   the 07/01/2020 payment
                                                                                                Option 1: No action required
 Principal and/or interest                   $757.24                  $757.24

 Escrow payment                              $275.70                  $282.83               Starting July 1, 2020 the new contractual
 Total payment amount
                                                                                            payment amount will be $1,040.07
                                         $1,032.94                $1,040.07

       Option 2                  Pay the shortage amount of $44.49
                                  Previous payment through New payment beginning with
                                  06/01/2020 payment date   the 07/01/2020 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                   $757.24                  $757.24

 Escrow payment                              $275.70                  $279.12               Starting July 1, 2020 the new contractual
 Total payment amount                                                                       payment amount will be $1,036.36
                                         $1,032.94                $1,036.36




                                                       See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $44.49 to the address that appears on this coupon.
  KARY A CRIST
                                                                  This payment must be received no later than July 1, 2020.


              Wells Fargo Home Mortgage
              PO Box 14538
              Des Moines, IA 50306-3538




        936                            9 10 02 00103294 00103636 00107743 00004449 9
                                                                                                                                             Page 2 of 3
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                                                                                                Loan Number:
                                                          Document     Page 5 of 7
     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $1,081.31. For the coming year, we expect the amount paid from escrow to be
$3,349.37.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                                       07/19 - 06/20 02/20 - 05/20       07/20 - 06/21
                                          - -/- -                                                                     # of               escrow
                                                         (Actual)      (Actual)           (Projected)
                                                                                                                     months              amount

Property taxes                                 $0.00          $1,479.11         $0.00        $1,466.94        ÷         12       =          $122.25
Property insurance                             $0.00           $680.75        $680.75          $680.75        ÷         12       =           $56.73
Total taxes and insurance                      $0.00         $2,159.86        $680.75        $2,147.69        ÷         12       =          $178.98
Escrow shortage                                $0.00             $0.00          $0.00           $44.49        ÷         12       =              $3.71**
Mortgage insurance                             $0.00          $1,101.54       $400.56        $1,201.68        ÷         12       =          $100.14

Total escrow                                   $0.00         $3,261.40       $1,081.31       $3,393.86        ÷         12       =          $282.83


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance July, 2020                                     $273.83            table)

Bankruptcy adjustment‡                                                 +         $39.64

Minimum balance for the escrow account†                                -       $357.96            (Calculated as: $178.98 X 2 months)


Escrow shortage                                                        =        -$44.49


‡
 This adjustment of $39.64, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.
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                                                          Document     Page 6 of 7              Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from July, 2020 to June, 2021
                                           What we
              Payments to                  expect to                                                                Projected escrow        Balance required
Date            escrow                      pay out        Description                                                  balance              in the account
Jun 2020                                                   Starting balance                                                $828.32                     $912.45
Jul 2020              $279.12                   $100.14    FHA Insurance                                                 $1,007.30                    $1,091.43
Jul 2020               $0.00                    $733.47    PICKAWAY COUNTY(A)(6)                                           $273.83                    $357.96
Aug 2020              $279.12                   $100.14    FHA Insurance                                                   $452.81                     $536.94
Sep 2020              $279.12                   $100.14    FHA Insurance                                                   $631.79                     $715.92
Oct 2020              $279.12                   $100.14    FHA Insurance                                                   $810.77                     $894.90
Nov 2020              $279.12                   $100.14    FHA Insurance                                                   $989.75                    $1,073.88
Dec 2020              $279.12                   $100.14    FHA Insurance                                                  $1,168.73                   $1,252.86
Jan 2021              $279.12                   $100.14    FHA Insurance                                                  $1,347.71                   $1,431.84
Jan 2021               $0.00                    $733.47    PICKAWAY COUNTY(A)(6)                                           $614.24                     $698.37
Feb 2021              $279.12                   $100.14    FHA Insurance                                                   $793.22                     $877.35
Mar 2021              $279.12                   $100.14    FHA Insurance                                                   $972.20                    $1,056.33
Apr 2021              $279.12                   $100.14    FHA Insurance                                                  $1,151.18                   $1,235.31
May 2021              $279.12                   $100.14    FHA Insurance                                                  $1,330.16                   $1,414.29
May 2021               $0.00                   $680.75     NATIONWIDE                                                      $649.41                     $733.54
Jun 2021              $279.12                   $100.14    FHA Insurance                                                   $828.39                     $912.52

Totals           $3,349.44                    $3,349.37



  Part 4 - Escrow account history
Escrow account activity from February, 2020 to June, 2020
                      Deposits to escrow                      Payments from escrow                                                    Escrow balance
   Date      Actual      Projected Difference             Actual   Projected Difference             Description           Actual         Projected Difference
Feb 2020                                                                                         Starting Balance           $355.27        $670.91         -$315.64
Feb 2020        $0.00           $275.70      -$275.70        $0.00       $100.14      -$100.14   FHA Insurance              $355.27        $846.47        -$491.20

Feb 2020        $0.00             $0.00         $0.00      $100.14            $0.00   $100.14    FHA Insurance              $255.13        $846.47         -$591.34

Mar 2020        $0.00           $275.70      -$275.70        $0.00       $100.14      -$100.14   FHA Insurance              $255.13       $1,022.03       -$766.90

Mar 2020        $0.00             $0.00         $0.00      $100.14            $0.00   $100.14    FHA Insurance              $154.99       $1,022.03       -$867.04

Apr 2020      $276.00           $275.70         $0.30        $0.00       $100.14      -$100.14   FHA Insurance              $430.99       $1,197.59       -$766.60

Apr 2020        $0.00             $0.00         $0.00      $100.14            $0.00   $100.14    FHA Insurance              $330.85       $1,197.59       -$866.74

May 2020     $1,102.80          $275.70       $827.10        $0.00       $100.14      -$100.14   FHA Insurance            $1,433.65       $1,373.15         $60.50
(estimate)

May 2020        $0.00             $0.00         $0.00      $680.75       $639.68       $41.07    NATIONWIDE                 $752.90        $733.47           $19.43

May 2020        $0.00             $0.00         $0.00      $100.14            $0.00   $100.14    FHA Insurance              $652.76        $733.47          -$80.71

Jun 2020       $275.70          $275.70         $0.00      $100.14       $100.14        $0.00    FHA Insurance              $828.32        $909.03          -$80.71
(estimate)

Totals       $1,654.50         $1,378.50      $276.00     $1,181.45    $1,140.38       $41.07




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